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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

ANDREW G. MCCABE,
Plaintiff,
V.
WILLIAM P. BARR,
in his official capacity as
ATTORNEY GENERAL OF THE
UNITED STATES, et al.,

Defendants.

Civil Action No. 19-2399 (RDM)

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PLAINTIFF’S SUR-REPLY IN OPPOSTION TO DEFENDANTS’
MOTION TO DISMISS AND FOR SUMMARY JUDGMENT

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Plaintiff's opposition (Dkt. 27) (“Opp’n”) set forth why Defendants’ summary judgment
motion (Dkt. 23) should be denied either as premature or on the merits, because of material factual
disputes about outcome-determinative issues surrounding Plaintiff's claims. This sur-reply
addresses several new arguments and exhibits presented by Defendants’ reply (Dkt. 31) (“Reply”).
The new arguments and exhibits cannot save Defendants’ motion from denial, not least because
they waived these new issues by not raising them until their Reply. See, e.g., Brady Ctr. to Prevent
Gun Violence v. U.S. Dep’t of Justice, 410 F. Supp. 3d 225, 241 n.3 (D.D.C. 2019) (Moss, J.).

First, Defendants argue that Plaintiff's First Amendment claims are “subject to dismissal
under Rule 12(b)(6) or summary judgment under Rule 56 without further discovery.” Reply 6
(emphasis added). But they never “assert[ed]” any “defense[]” to the First Amendment claims
under Rule 12(b)(6). See Fed. R. Civ. P. 12(b). Instead, they only claimed “entitle[ment] to
summary judgment” on an evidentiary basis. Defs.” Mem. in Supp. of Summ. J. (“SJ Mem.”) 30;
see also id. at 4 (seeking dismissal only as to some claims and summary judgment “as to the rest’),
31 (same). Accordingly, the Court need only assess the First Amendment claims and related
evidence under Rule 56. See 2910 Georgia Ave. LLC v. D.C., 983 F. Supp. 2d 127, 137-38 (D.D.C.
2013) (declining to consider defendants’ reply argument that constitutional allegations failed to
state valid claims, because their initial motion did not seek to dismiss them under Rule 12(b)(6)).!

Second, Defendants offer a new but meritless argument for why Plaintiff supposedly
lacked “for-cause” removal protections that would confer a due process property interest in his

continued employment. The Complaint explained that 5 U.S.C. § 7543 provides employment

 

' The Complaint pleads valid First Amendment claims, which explains Defendants’ failure to
move to dismiss them under Rule 12(b)(6). Even so, Plaintiff's Opposition did not “acknowledge”
that the pleadings must be assessed at this stage. Contra Reply 6. Defendants also misread and
misapply their cited cases, including Messina v. Krakower, 439 F.3d 755 (D.C. Cir. 2006), which
discussed the sufficiency of a Rule 56(d) (then 56(f)) declaration, not a complaint’s allegations.

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protections for other SES employees, and that 5 U.S.C. § 3151(a)(5)(D) applies these protections
to the FBI SES. See Dkt. 1 (“Compl.”) Jf 117, 160-163. Defendants’ summary judgment brief
never discussed §§ 3151 or 7543. Although their motion attached the FBI SES Policy (Dkt. 23-3)
that implemented § 7543’s protections, it argued only that other, irrelevant statutes did not grant
for-cause protections, without discussing the Policy’s for-cause language. See SJ Mem. 15-16.
Plaintiff's Opposition then reminded Defendants that § 7543(a) provides that SES employees “may
... only” be removed for cause (e.g., “misconduct”). Opp’n 36-38. The Reply now acknowledges
§ 7543’s for-cause protections, but argues that because the FBI SES Policy’s implementing
language uses the word “may” while omitting the word “only,” the Policy “endows the FBI with
a level of discretion absent from § 7543, torpedoing any claims of for-cause protection.” Reply
19 (citing FBI SES Policy at 13, 16). This argument defies Congress and precedent.

As an initial matter, Defendants still do not acknowledge § 3151’s existence and how the
FBI SES Policy was promulgated pursuant to it—despite the Policy’s own observation that the
FBI SES must be managed “in accordance with 5 U.S.C. § 3151.” FBI SES Policy at 5. Section
3151(a)(5)(D) mandates that the FBI’s SES regulations “shall” provide for removal “consistent
with” § 7543. Consistency with § 7543 means, by definition, that the FBI SES Policy cannot
create “discretion absent from § 7543.” Contra Reply 19.

More importantly, the Supreme Court long ago rejected Defendants’ reading of the word
“may.” Humphrey’s Executor v. United States held that the effect of language stating that an
official “may” be removed for cause is “to limit the executive power of removal to the causes
enumerated.” 295 U.S. 602, 626 (1935). Today, for example, Congress has provided that “[t]he
President may remove the Director [of the Consumer Financial Protection Bureau (“CFPB’)] for

inefficiency, neglect of duty, or malfeasance in office.” 12 U.S.C. § 5491(c)(3) (emphasis added).
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This means “[t]he Director may be fired only for ‘inefficiency, neglect of duty, or malfeasance in
office.’” PHH Corp. v. CFPB, 881 F.3d 75, 78 (D.C. Cir. 2018) (en banc) (quoting § 5491(c)(3))
(emphasis added). But by Defendants’ logic, the D.C. Circuit is wrong, the President can remove
the CFPB Director at will, and all of the parties in the parallel CFPB case now before the Supreme
Court have misread the phrase “may remove” as a “restriction” on the President’s discretion. See
Br. for Court-Appointed Amicus Curiae Paul Clement, Seila Law LLC v. CFPB, No. 19-7, 2020
WL 353477, at *17 (S. Ct. Jan. 15, 2020) (noting petitioner and respondent’s common arguments).

It is true, as Defendants note, that the word “may” is a permissive term. Reply 18-19. But
“Tt]o say that ‘may’ is permissive does not lead to the conclusion that it permits everything,
irrespective of other unambiguous words of limitation included in the sentence in which the term
is used. Rather, the word ‘may’ ... merely grants discretion to the [decisionmaker], the limits of
which are ascertained by reference to the section’s other language, its structure and its purpose.”
Halverson v. Slater, 129 F.3d 180, 187-88 (D.C. Cir. 1997). Thus, when the FBI SES Policy states
that employees “may” be removed for certain enumerated conduct, it simply confers limited
discretion to remove them for engaging in that enumerated conduct. The word “may” does not
give the FBI discretion to remove SES employees in the absence of that enumerated conduct, such
as by removing them at will. Accordingly, Plaintiff had for-cause removal protections as set forth
in § 7543, applied to the FBI SES by § 3151, and implemented by the FBI SES Policy, and thus
had a due process property interest in his continued employment. See also Opp’n 38-39.

Third, Defendants offer irrelevant new evidence to argue that Plaintiff did not actually
“finish[] his ‘tour of duty’ at 5 p.m. on Friday, March 16, 2018,” and was therefore supposedly
fired before becoming entitled to his immediate law enforcement annuity. Reply 22. Defendants

cite two FBI hiring materials which state general expectations that “special agents” may serve
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irregular hours on duty, instead of ending the workday at 5 p.m.: (1) selected excerpts of an FBI
“Special Agent Hiring Policy Guide” (Reply Ex. 5 (Dkt. 31-4)) and (2) a link to an undated FBI
online PDF brochure about the special agent application process. Reply 22-23. However, in
March 2018, as Defendants well know, Plaintiff was not a newly hired special agent on active
duty, but a “supervisory special agent” on “pre-approved terminal leave” who “no longer served
in a duty status.” McCabe Decl. (Dkt. 27-21) J] 4, 40 (emphases added); PX-24 (FBI official
noting terminal leave).” In any event, at best, this new evidence merely contradicts Plaintiff's
evidence, and thus cannot resolve the factual dispute at this stage. See, e.g., Campbell v. D.C., 126
F. Supp. 3d 141, 154 n.17 (D.D.C. 2015) (defendant’s contradictory reply evidence merely created
“a dispute of fact that cannot be resolved at summary judgment’’). Indeed, Defendants also dispute
the administrative effect of Plaintiff's terminal leave status, further reinforcing the disputed nature
of this material factual issue. See Dkt. 31 at 41 (Defendants’ response to Plaintiff's CMF No. 2).
Fourth, Defendants offer four new exhibits and a declaration that supposedly show that
Plaintiff was FBI Deputy Director in March 2018—a “key” position subject to Attorney General
Sessions’ removal authority under DOJ Order 1202. Reply 7-8 (citing Exs. 1-4). Again, these
new documents merely contradict the February 2018 OIG Report, Candice Will communications,
and other evidence showing that Plaintiff was not the Deputy Director in March 2018 (see Opp’n
21-22 & n.11), and confirm the existence of a material fact dispute. Campbell, 126 F. Supp. 3d at

154 n.17; see also Dkt. 31 at 40-41 (Defendants’ response to Plaintiff's CMF No. 1).

 

? The documents did not even apply in March 2018. The Guide was not effective until December
2018 (Dkt. 31-4 at 3), and the undated brochure’s metadata states it was created January 20, 2020.

3 Two of the new exhibits are SF-50 and SF-52 personnel forms that Defendants created after
March 16, 2018. Dkt. 31-1 at 4 (“PART C - Reviews and Approvals”: March 19); id. at 7 (Box
49 “Approval Date”: March 17). Such personnel forms are “not conclusive on an employee’s
status.” Brown v. Dep’t of Justice, 43 F.3d 1486 (Fed. Cir. 1994) (discussing SF-52 forms). The
two other documents are simply orders signed by AG Sessions: a February 2, 2018 order

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Fifth, Defendants newly argue that even if Plaintiff was not Deputy Director in March
2018, he still held one of Order 1202’s “key” positions as someone who supposedly “report[ed]
directly to the Director of the FBI.” Reply 9 (quoting Dkt. 23-5 at 18). But they offer no evidence
that he did; they simply say Plaintiff failed to plead otherwise. Jd. This ignores Plaintiffs explicit
allegation that he “did not serve in any of [Order 1202’s] key positions.” Compl. ¥ 153.

Finally, Defendants newly challenge Plaintiff's substantive due process claim. They say
“Tt]he Complaint never uses the term ‘substantive due process.’” Reply 15. But the Complaint
also did not use the term “procedural due process,” and yet Defendants’ motion addressed that
theory. Moreover, Count One explicitly alleged violations of the Due Process Clause through
ultra vires action (Compl. J] 148-156), a recognized substantive due process claim. See Haitian
Refugee Ctr. v. Gracey, 809 F.2d 794, 812 n.14 (D.C. Cir. 1987) (Bork, J.) (discussing possibility
of “a claim that ultra vires governmental action that injures [the plaintiff] violates the due process
clause”); Cine SK8, Inc. v. Town of Henrietta, 507 F.3d 778, 789 (2d Cir. 2007) (Calabresi, J.)
(actions affecting property were potentially “ultra vires and, as a result, sufficiently arbitrary to
amount to a substantive due process violation”).

Defendants also argue that substantive due process does not protect public employment,

but their cited cases are red herrings.* See Reply 17. Plaintiff is not asserting a constitutional right

 

retroactively “designating” David Bowdich as “acting” Deputy Director as of January 29, 2018,
and a February 14, 2018 order “appointing” Bowdich as Deputy Director effective March 18, 2018,
the date that Plaintiff turned 50. (Dkts. 31-2 & 31-3.) The February 14 order raises more questions
than it answers, because Plaintiff did not submit his retirement application until the next day,
February 15. McCabe Decl. 9 41. A reasonable factfinder could thus infer from Sessions’
February 14 order that even if he truly believed that Plaintiff were Deputy Director, Sessions
committed to removing Plaintiff from that position before Plaintiff submitted his retirement papers.

4 Defendants also offer no legal authority for their assertion that Plaintiffs statutory entitlement to
his earned retirement annuity should be treated no differently than “property interests in
employment.” Reply 17.

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to public employment; he is asserting “the right not to be injured by ultra vires executive action.”
Gracey, 809 F.2d at 808 n.11. Arbitrary executive action that defies statutory constraints was not
under review in any of Defendants’ cited cases, which concerned only contract-based employment
rights or challenges to legislative enactments. See Reply 17; e.g., McManus v. D.C., 530 F. Supp.
2d 46, 71, 72 (D.D.C. 2007) (noting that plaintiffs did not “claim that the District violated [D.C.
personnel statutes] in allegedly terminating [them]” or “allege facts sufficient to demonstrate any
violation of” those statutes). Additionally, as Plaintiff has pled and as the evidence reflects,
Defendants’ attempts to fire Plaintiff despite statutory constraints, and to withhold his annuity
payments despite statutory mandates, were “intended to injure in [a] way unjustifiable by any
government interest,” and thus satisfy even the “shock the conscience” due process standard.
Rosales-Mireles v. United States, 138 8S. Ct. 1897, 1906 (2018) (quotation marks omitted).
CONCLUSION
For the foregoing reasons, and for the reasons stated in Plaintiff's opposition (Dkt. 27),
Defendants’ Motion to Dismiss and for Summary Judgment (Dkt. 23) should be denied.
February 18, 2020 Respectfully submitted,
/s/ Murad Hussain

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